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Address: P.O. Box 3065 Suisun City, CA 94585-6065

Phone Number: (707) 471-8284 MAR 2 6 2014
Email: cartede@msn.com eAStERN TRS OF On
BY :
PUTY CLERK

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA
SACRAMENTO DIVISION

Darry] Carter

Plaintiff
CIVIL ACTION NO:

2-14-C(V-770  TLN EFB PS

K.B.R., Inc.,

Rash Curtis and Associates COMPLAINT FOR LEGAL RELIEF
PER

15 US.C. § 1692e,

15 US.C. § 1692f,

INTENTIONAL INFLICTION OF
EMOTIONAL DISTRESS

Defendants

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JURY TRIAL DEMANDED

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1.

This action is brought forth for legal relief against the actors and others acting in
connection with K.B.R., Inc., (“KBR”) doing business as (“DBA”), “Rash Curtis and
Associates,” all of which in violation of the Plaintiff’s rights per federal, and California

law.

JURISDICTION AND VENUE
2.

The matters complained of, herein, stem from violations of federal Jaw per 15
U.S.C. § 1692. Defendants K.B.R, Inc. doing business as (“DBA”), “Rash Curtis and
Associates” is a corporation registered in the state of California. Defendant can be found
at the address: 190 S Orchard Ave STE A205, Vacaville, CA 95688-3647. The
Defendant’s address is located in the county of Solano, California within the jurisdiction
of this Court. Additionally, jurisdiction and venue are appropriate as per 28 U.S.C. §

1367.

PARTIES
3.
The Plaintiff is a United States citizen and a resident of the state of California,
Solano County.
4.
Defendant K.B.R., Inc. is a California corporation doing business under one or

more fictitious names including “Rash Curtis and Associates.”

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5.

Rash Curtis and Associates is known to be a consumer debt collection agency
whose principal business is the collection of consumer related debts. As such, Rash
Curtis and Associates is required to adhere to governing law including the Fair Debt
Collection Practices Act (“FDCPA”), Fair Credit Reporting Act (“FCRA”) and the

Rosenthal Fair Debt Collection Practices Act (“RFDCPA”) of California.

STATEMENT OF FACTS
6.
Plaintiff is a consumer for the purposes of the FDCPA and FCRA.
7.

Defendant Rash Curtis and Associates is a consumer debt collection agency as
defined in the FDCPA. Additionally Rash Curtis and Associates is an information
furnisher as defined in the FCRA.

8.

On November 20, 2013 Plaintiff filed a petition for bankruptcy in the U.S. District
Court of California Eastern Division.

9.

Among other debts, creditor John Muir Health was included per an account listed
with Equifax credit bureau.

10.

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On or around February 28, 2014, Rash Curtis and Associates with actual or
constructive knowledge of debt(s) included in bankruptcy reported and continues to
report uncollectable alleged debts as actual and collectable to one or more consumer
credit bureaus.

11.

On February 28, 2014 Plaintiff retrieved a copy of his Experian credit report
which showed a collection account purportedly opened with Rash Curtis and Associates
on 11/2013. The purported original balance reported on said account is $88.

12.

The purported account alleging $88 owed has additional interest, fees or charges

assessed rendering a purported recent balance of $113.
13.

On February 28, 2014 Plaintiff retrieved a copy of his Experian credit report
which showed a, second, collection account purportedly opened with Rash Curtis and
Associates on 11/2013. The purported balance reported on said account is $160.

14.

The purported account alleging $160 owed has additional interest, fees or charges

assessed rendering a purported recent balance of $202.
15.

On February 28, 2014 Plaintiff disputed both accounts as inaccurately reported as

such alleged debts were included in the 11/20/13 bankruptcy petition.

16.

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On March 5, 2014 Experian credit bureau sent notice to Plaintiff of the completion
of the Rash Curtis and Associates disputed items initiated per the February 28, 2014
dispute.

17.

The March 5, 2014 Experian disputed items showed the two (2) Rash Curtis and
Associates accounts as “Updated,” although there was no material change in the
inaccurately reported information.

18.

The March 5, 2014 updated Experian report as per the Rash Curtis and Associates

disputed accounts did not list the accounts as “Disputed by Consumer.”
19.

Plaintiff contacted Rash Curtis and Associates on March 5, 2014 and advised —

Defendants of the inaccurate reporting of the two (2) accounts listed with Experian.
20.

Plaintiff contacted Rash Curtis and Associates on March 5, 2014 and informed
them, again, of the bankruptcy petition with respect to the two (2) accounts and
demanded correction of the inaccurately reported accounts as collectable and due
Defendants.

21.

On March 24, 2014 plaintiff obtained a copy of his Experian credit report which

still showed the two (2) Rash Curtis accounts as originally inaccurately and falsely

reported on February 28, 2014 and again on March 5, 2014.

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22.
Plaintiff has not received any correspondence from Defendants with respect to the

correspondence Plaintiff sent to Defendants on March 5, 2014.

CAUSES OF ACTION

23.
COUNT I

False or Misleading Representations
(FDCPA 15 U.S.C. § 1692e)

Plaintiff incorporates the above “Statement of Facts” by reference as though fully set
forth herein. Defendant K.B.R, Inc. DBA Rash Curtis and Associates is principally in the
business of debt collection as a consumer debt collection agency. Defendant K.B.R., Inc. at all —
times possessed a duty of care to Plaintiff during the course of Defendant’s debt collection
activities. Notwithstanding Defendant K.B.R., Inc.’s duty of care, Defendant breached its duty
and reported to one or more credit bureaus including Experian of two (2) alleged debts with two
(2) different account numbers and balances related to alleged debts Defendants knew or should
have known were discharged or uncollectable. Moreover, Defendant K.B.R., made false
representations of the character, legal status, and amount of the alleged debts.

24.

Defendant K.B.R., Inc. had actual and/or constructive knowledge that the two (2) alleged

debts as reported to one or more credit bureaus were included in bankruptcy and therefore

discharged and/or uncollectable. Additionally, Defendant K.B.R. knew or was aware of the

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automatic stay provisions of the bankruptcy case yet, nonetheless, continued to attempt
collection of discharged and/or uncollectable alleged debts.
25.

Notwithstanding the fact Defendant K.B.R., was made aware of their errors, Defendants
knowingly and willfully continued to pursue collection activities related to discharged and/or
uncollectable alleged debts. Additionally, Defendants verified the alleged debts as accurate to
one or more credit bureaus and did not update the allege debt as disputed by the consumer. In
doing so, Defendant K.B.R., has caused undue and serious damage to Plaintiff's credit score and
circumvented the relief provisioned by bankruptcy law. Moreover, Defendant K.B.R. took these
actions with full knowledge of Plaintiff's vulnerable financial situation such as to coerce and
oppress Plaintiff into paying the alleged debts for which he has no legal obligation to pay.
Defendant K.B.R., Inc.’s actions are the direct and proximate cause of the Plaintiff's injuries.
Moreover, Defendant K.B.R., Inc. is strictly liable for statutory damages pursuant 15 U.S.C.
1692(k).

26.

COUNT II

Unfair Practices

(FDCPA 15 U.S.C. § 1692e)

Plaintiff incorporates the above “Statement of Facts” by reference as though fully set
forth herein. Defendant K.B.R, Inc. DBA Rash Curtis and Associates is principally in the
business of debt collection as a consumer debt collection agency. Defendant K.B.R., Inc. at all
times possessed a duty of care to Plaintiff during the course of Defendant’s debt collection

activities. Despite Defendant K.B.R., Inc.’s duty of care, Defendant knowingly breached such

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duty by inaccurately reporting to one or more credit bureaus two (2) alleged debts which
Defendant knew or should have known were discharged and/or uncollectable.
27.

Defendant K.B.R., knowingly furnished inaccurate information to one or more credit
bureaus with the intent to coerce and oppress Plaintiff regarding alleged debts to which
Defendant K.B.R., Inc. had actual and/or constructive knowledge were discharged and/or
uncollectable. Moreover, Defendant verified the alleged debts as current collection accounts, to
one or credit bureaus, and did not update the accounts as disputed by consumer. Additionally,
Defendant K.B.R., made false representations of the character, legal status, and amount of
alleged debts. In doing so, Defendant used unfair and unconscionable means to collect on alleged
debts Defendant knew or should have known were discharged and/or uncollectable.

28.

Notwithstanding the fact Defendants were made aware of their unfair practices, with
respect to persistent attempts to collect on discharged and/or uncollectable alleged debts,
Defendants acquiesced and took no corrective action knowing full well of Plaintiff's financial
standing.

29.

Defendant’s unfair business practices are the direct and proximate cause of Plaintiff's
injuries including significant harm to his credit score, standing, borrowing capacity,
home/apartment rental capacity, and emotional pain/suffering. Additionally, Defendant K.B.R.,
Inc. is strictly liable for statutory damages pursuant 15 U.S.C. 1692(k).

30.

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COUNT If
Intentional Infliction of Emotional Distress

Plaintiff incorporates the above “Statement of Facts” by reference as though fully set
forth herein. Defendant K.B.R, Inc. DBA Rash Curtis and Associates is principally in the
business of debt collection as a consumer debt collection agency. Defendant K.B.R., Inc. at all
times possessed a duty of care to Plaintiff during the course of Defendant’s debt collection
activities. Despite Defendant K-B.R., Inc.’s duty of care, Defendant breached such duty and
executed collection activity on two (2) alleged consumer debts which Defendant knew or should
have known were discharged and/or uncollectable. In doing so, Defendant invalidated the
remedies provided per bankruptcy law and in effect performed an override of bankruptcy law.

31.

Notwithstanding the fact Defendant K.B.R., Inc. was made aware that their information
was disputed as inaccurate and included in bankruptcy, per the actual and/or constructive
knowledge of the bankruptcy, Defendant knowingly and intentionally falsely verified the
information as accurate to Experian. Moreover, despite the fact the information was disputed by
Plaintiff, Defendant did not properly update the account as disputed by consumer. Furthermore,
Defendant K.B.R., made false representations of the character, legal status, and amount of the
alleged debts. Defendant’s extreme and outrageous actions were/are intended to coerce,
intimidate, and oppress Plaintiff through circumventing the law by collecting on alleged
consumer debts which Defendant knew or should have known were discharged and/or
uncollectable. Moreover, Plaintiff informed Defendant of their errors via letter on March 5",
2014 yet Defendants acquiesced and took no corrective action.

32.

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Defendant, knowing full well of Plaintiff’s vulnerability given his financial situation,
intentionally and falsely verified the information as accurate and continued to do so even after
receiving correspondence from Plaintiff to the contrary. Defendant K.B.R., Inc. did so with
reckless disregard for the truth but instead as a way to coerce, oppress, and inflict severe
emotional distress upon Plaintiff using unconscionable tactics to collect on alleged debts which
Defendant knew or should have known were discharged and/or uncollectable. Moreover,
Defendant being a practitioner of consumer debt collection knew or should have known that the
credit report clearly showed a bankruptcy public record.

33.

Defendant being a practitioner of consumer debt collection knew or should have known
of the severe and outrageous emotional strain inflicted by their continued efforts to collect on
alleged debts discharged and/or otherwise uncollectable through flagging each account as a
current “Collection Account.” Additionally, Defendant knew or should have known that Plaintiff
would suffer severe impact on his credit score, employability, housing/apartment credit capacity
and overall financial well-being with respect to their inaccurate reporting and collection activity
on alleged consumer debts they knew or should have known were discharged and/or
uncollectable. Defendant’s actions and inactions are the direct and proximate cause of Plaintiff's

severe emotional distress.

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WHEREFORE, the Plaintiff prays for the following:

1) Damages awarded for $1,000 per 15 U.S.C. 1692k (a) (2) (A) for each count of
Defendant's noncompliance of the FDCPA.

2) Order for Exemplary Damages, pursuant CA Civ. Sec. 3294, the greater of
$50,000 or that which a jury awards for the emotional distress inflicted by
Defendant.

3) Order for Compensatory Damages pursuant CA Civ. Sec. 3333, the greater of
$25,000 or as a jury may award for the emotional distress inflicted by .
Defendant.

4) Any other Compensatory Damages against Defendant to be proven at trial.

5) Any further relief as the Court may deem just and appropriate.

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JURY TRIAL DEMANDED

Plaintiff demands a trial by jury on all Issues.

Respectfully submitted, this day Wednesday, March 26, 2014.

Darryl Carter

Pro Se

P.O. Box 3065

Suisun City, CA 94585-6065
Telephone: (707) 471-8284

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March 5, 2014

Rash Curtis & Associates
190 S Orchard Ave STE A205

Vacaville, CA 95688-3647

VIA USPS CERTIFIED MAIL #7010-2780-0003-2441-4438

RE: Notice of Willful Noncompliance and Demand Letter
‘Dear Sit or Madam:
Please note the following item(s) were falsely asserted as accurate:

1. >>Account #5171160001866478 JOHN MUIR HEALTH CONCORD<<
a. This account including party John Muir Health was included in and discharged in _
the chapter 13 bankruptcy case.

b. Both you and the John Muir health were are of the bankruptcy and keowingly
presented false collections information.

c. Your actions constitute willful noncompliance with the automatic stay provisions of
the Court.

d. Your malicious actions have caused financial injury and damage.

e. Any and all information reported to any and all credit bureaus including but not
limited to Experian, Equifax and Transunion must cease within ten (10) days of
receipt of this correspondence and any future actions of any sort are forever barred.

f. Inan attempt to settle this matter out of court, remit $500.00 to the address listed in
the footer of this correspondence. This figure is a small fraction of the damages

following your actions and the costs associated with filing actions in the appropriate
i Courts of jurisdiction.

In the event you doubt the sincerity of the matters contained, herein simply disregard the same and
actions will be filed with respect to willful noncompliance with the Court order, willful fraud and
deceit with respect to FCRA, and California law.

Sincerely,
barryl Carter
Darryl Carter

PO Box 3065 = Suisun City, CA 94585-6065
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March 5, 2014

Rash Curtis & Associates
190 S Orchard Ave STE A205
Vacaville, CA 95688-3647

VIA USPS CERTIFIED MAIL #7010-2780-0003-2441-4438

RE: Notice of Willful Noncompliance and Demand Letter

Dear Sir or Madam:
Please note the following item(s) were falsely asserted as accurate:

1. >>Account #6301160001904223 JOHN MUIR HEALTH WALNUT CREEK<<

a. This account including party John Muir Health was included in and discharged in _
the chapter 13 bankruptcy case.

b. Both you and the John Muir health were are of the bankruptcy and knowingly
presented false collections information.

c. Your actions constitute willful noncompliance with the automatic stay provisions of
the Court.

d. Your malicious actions have caused financial injury and damage.

e. Any and all information reported to any and all credit bureaus including but not
limited to Experian, Equifax and Transunion must cease within ten (10) days of
receipt of this correspondence and any future actions of any sort are forever barred.

f. Inan attempt to settle this matter out of court, remit $500.00 to the address listed in
the footer of this correspondence. This figure is a small fraction of the damages
following your actions and the costs associated with filing actions in the appropriate

Courts of jurisdiction.
In the event you doubt the sincerity of the matters contained, herein simply disregard the same and

actions will be filed with respect to willful noncompliance with the Court order, willful fraud and
deceit with respect to FCRA, and California law.

Sincerely,
ba rryt Carter

Darryl Carter

PO Box 3065 » Suisun City, CA 94585-6065
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2p wi? Experian

"A world of insight

Close window

Online Personal Credit Report from Experian for

Experian credit report prepared for Index:

DARRYL CARTER - Contact us

0101769023 is - Potentially negative tems
Report date: - Accounts in good standing
03/24/2014 ~ Requests for your credit history

- Personal information

- Important message from Experian
- Know your rights

Experian collects and organizes information about you and your credit history from public records, your creditors and other
reliable sources. By law, we cannot disclose certain medical information (relating to physical, mental, or behavioral health
or condition). Although we do not generally collect such information, it could appear in the name of a data furnisher (i.e.,
"Cancer Center’) that reporis your payment history to us. If so, those names display in your report, but in reports to others
they display only as “Medical Information Provider.” Consumer statements included on your report at your request that
contain medical information are disclosed to others.

To return to your report in the near future, log on to www.experian.com/consumer and select "View your report a again” or
"Dispute" and then enter your report number.

Hf you disagree with information in this report, return to the Report Summary page and follow the instructions for disputing.

Contact us back to top

Need to view your report again or dispute information? Access your report online at www.experian.com/viewreport.
You may also contact us by mail at: =

NCAC

P.O. Box 9701

Allen, TX 75013

Or, by phone at:
1 800 493 1058
Monday through Friday, 9 am to 5 pm in your time zone.

You may also submit additional relevant information or supporting documentation for your disputes electronically at
experian.com/upload.

Be advised that written information or documents you provide with respect to your disputes may be shared with
any and ail creditors with which you are disputing.

Potentially Negative Items or items for further review back to top

This information is generally removed seven years from the initial missed payment that led to the delinquency. Missed payments and
most public record items may remain on the credit report for up to seven years, except Chapters 7, 11 and 12 bankruptcies and
unpaid tax liens, which may remain for up to 10 years. A paid tax lien may remain for up to seven years. Transferred accounts that
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Payment history legend
OK Current/Terms of agreement met VS Voluntarily surrendered
30° Account 30 days past due R_ Repossession
60 Account 60 days past due PBC Paid by creditor
90 Account 90 days past due IG Insurance claim
120 Account 120 days past due ‘G Claim filed with government
150 Account 150 days past due D Defaulted on contract
180 Account 180 days past due C Collection
CRD Creditor received deed CO Charge off
FS Foreclosure proceedings started CLS Closed
F Foreclosed ND _ No data for this time period

Public Records

Credit grantors may carefully review the items listed below when they check your credit history. Please note that the
account information connected with some public records, such as bankruptcy, also may appear with your credit items
listed later in this report.

US BKPT CT CA SACRAMENTO

Address: Identification Number:
650 CAPITOL MALL RM 8038 1334802TH
SACRAMENTO , CA 95814

No phone number available
Address Identification Number:
0190617754 .
Status: Chapter 13 bankruptcy petition. Status Details: This item is scheduled to continue on record.
until Nov 2020.
Date Filed: Claim Amount:
11/20/2013 NA
_Date Resolved: . Liability Amount:
NAL $0
Responsibllity:
Individual

Credit Items

For your protection, the last few digits of your account numbers do not display.

CAPITAL ONE

Address: Account Number:

PO BOX 30281 517805773218....

SALT LAKE CITY, UT 84130

(800) 955-7070

Address Identification Number:

0190533825

Status: Petition for Chapter 13 Bankruptcy/Never late. Status Details: This account is scheduled to continue on

record until Jan 2021,

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Date O

10/2011 Credit card $2,000

Reported Since: Terms: High Balance:
11/2011 . NA $935

Date of Status: Monthly Payment: Recent Balance:
01/2014 $0 NA

Last Reported: Responsibllity: Recent Payment:
02/2014 individual NA

Comment: Purchased by another lender.

Payment History:

2013 2012
NOV OCT SEP AUG JUL JUN MAY APR MAR FEB JAN DEC NOV OCT SEP AUG JUL JUN MAY APR
OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK

2011
MAR FEB JAN DEC NOV
OK OK OK OK OK

Account History:
Filed Chapter 13 Bankruptcy on Jan 05, 2014

Balance History - The following data will appear in the following format:
account balance / date payment received / scheduled payment amount / actual amount paid
Jan 2014: $0 / November 9, 2013 / $15 / no data
Nov 2013: $491 / November 9, 2013 / $15 / $130
Oct 2013: $477 / October 14, 2013 / $15 / $55

Sep 2013: $200 / September 13, 2013 / $15 / $100
Aug 2013: $166 / August 2, 2013 / $15 / $200

Jul 2013: $54 / July 2, 2013 / $15 / $60

Jun 2013: $381 / May 30, 2013 / $15 / $150

May 2013: $134 / May 1, 2013 / $15 / $200

Apr 2013: $72 / April 1, 2013 / $15 / $195

Mar 2013: $50 / February 27, 2013 /.$15 / $59

Feb 2013: $431 / January 28, 2013 / $15 / $75
Jan 2013: $502 / December 20, 2012 / $17 / $100
Dec 2012: $505 / November 30, 2012 / $17 / $50
Nov 2012: $460 / November 2, 2012 / $15 / $20
Oct 2012: $461 / September 29, 2012 / $15 / $80
Sep 2012: $201 / September 1, 2012 / $15 / $99
Aug 2012: $186 / August 4, 2012 / $15 / $300

Jul 2012: $0 / July 4, 2012 / $15 / $160

Jun 2012: $263 / May 30, 2012 / $15 / $150

May 2012: $102 / May 2, 2012 / $15 / $105

Apr 2012: $54 / April 4, 2012 / $15 /$100

Mar 2012: $199 / February 23, 2012 / $15 / $90

Between Jan 2014 and Jan 2014, your credit limit/high balance

was $2,000
Between Apr 2012 and Nov 2013, your credit limit/high balance
was $500
Between Mar 2012 and Mar 2012, your credit limit/high balance
was $300
GE CAPITAL/DILLARDS
Address: Account Number:
PO BOX 965024 604587083785....
ORLANDO, FL 32896
(800) 643-8278
Address Identification Number:
0190533825
Status: Petition for Chapter 13 Bankruptcy/Never late. Status Detalls: This account is scheduled to continue on

record until Dec 2020.
This item was updated from our processing of your dispute in
Jun 2006.
Date opens: “14 CV-OOCTETLN-EFB — DoCugegt dimivoniginal Amounts §— Pde 19 of 21
11/2001 Charge Card . NA

Reported Since: Terms: High Balance:

01/2002 NA $1,500

Date of Status: Monthly Payment: Recent Balance:

12/2013 $0 $0 as of 01/2014

Last Reported: Responsibliity: Recent Payment:

01/2014 Individual $30

Comment: Purchased by another lender.

Payment History:

2013 2012
NOV OCT SEP AUG JUL JUN MAY APR MAR FEB JAN DEC NOV OCT SEP AUG JUL JUN MAY APR
OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK

2011 2010
MAR FEB JAN DEC NOV OCT SEP AUG JUL JUN MAY APR MAR FEB JAN DEC NOV OCT SEP AUG
OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK

2009 2008
JUL JUN MAY APR MAR FEB JAN DEC NOV OCT SEP AUG JUL JUN MAY APR MAR FEB JAN DEC
OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK.

: 2007
NOV OCT SEP AUG JUL JUN MAY APR MAR FEB JAN DEC NOV OCT SEP AUG JUL JUN MAY APR
OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK

2006
MAR FEB JAN DEC
OK OK OK OK

Account History:
Filed Chapter 13 Bankruptcy on Dec 01, 2013

Balance History - The following data will appear in the following format:
account balance / date payment received / scheduled payment amount / actual amount paid
Dec 2013: $0 / December 3, 2013 / $25 / no data
Nov 2013: $682 / November 5, 2013 / $25 / $30
Oct 2013: $698 / October 2, 2013 / $25 / $50

Sep 2013: $734 / September 3, 2013 / $25 / $50
Aug 2013: $469 / August 2, 2013 / $25 / $55

Jul 2013: $546 / July 3, 2013 / $25 / $172

Jun 2013: $488 / June 4, 2013 / $25 / $50

May 2013: $528 / May 5, 2013 / $25 / $50

Apr 2013: $567 / April 3, 2013 / $25 / $60

Mar 2013: $616 / March 1, 2013 / $28 / $906

Feb 2013: $1,386 / February 4, 2013 / $39 / $50
Jan 2013: $1,411 / January 2, 2013 / $42 / $41
Dec 2012: $1,284 / December 5, 2012 / $39 / $75
Nov 2012: $1,333 / November 5, 2012 / $40 / $45
Oct 2012: $1,352 / October 5, 2012 / $40 / $75
Sep 2012: $1,400 / September 5, 2012 / $59 / $50
Aug 2012: $678 / August 5, 2012 / $29 / $29

Jul 2012: $694 / July 5, 2012 / $29 / $35

Jun 2012: $715 / June 5, 2012 / $30 / $50

May 2012: $533 / May 1, 2012 / $25 / $60

Apr 2012: $582 / April 5, 2012 / $25 / $60

Mar 2012: $630 / March 5, 2012 / $27 / $50

Between Dec 2013 and Dec 2013, your credit fimit/high balance

was $0
Between Mar 2012 and Nov 2013, your credit limit/high balance
was $1,700
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Case 2:14-cv-00770-TLN-EFB

RASH CURTIS & ASSOCIATES

Address: Account Number:
190 SORCHARD AVESTE — 5171160001866478
A205 ,

VACAVILLE, CA 95688

(707) 454-2010

Address identification Number:
0190533825

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Document1 _—_— Filed 03/26/14

Original Creditor:
JOHN MUIR HEALTH CONCORD

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Case.2:14-cv-00770-TLN-EFB

Date Opened:
11/2013
Reported Since:
01/2014
Date of Status:
01/2014
Last Reported:
02/2014
Payment History:
2014
FEB JAN

Cc Cc

Account History:

Type:
Collection
Terms:

1 Months

Monthly Payment:

$0
Responsibllity:
Individual

Collection as of Feb 2014, Jan 2014

RASH CURTIS & ASSOCIATES

Address: Account Number:
190 SORCHARD AVE STE —_6304160001904223
A205

VACAVILLE, CA 95688

(707) 454-2010

Address Identification Number:

0190533825

Status: Collection account. $202 past due as of Feb 2014. _

Date Opened:
11/2013
Reported Since:
01/2014
Date of Status:
01/2014
Last Reported:
02/2014
Payment History:
2014
FEB JAN

c Ue

Account History:

Type:
Collection
Terms:

1 Months

Monthly Payment:
$0

Responsibllity:
Individual

Collection as of Feb 2014, Jan 2014

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Document 1__ Filed 03/26/14 Page 21 of 21 |
Status: Collection account. $113 past due as of Feb 2014.

Status Detalls: This account is scheduled to continue on record
until Feb 2018. ,

This item was updated from our processing of your dispute in Mar
2014.

Credit Limit/Original Amount:

$88

High Balance:

NA

Recent Balance:

$113 as of 02/2014

Recent Payment:

$0

Original Creditor:
JOHN MUIR HEALTH WALNUT CREEK

Status Detalls: This account is scheduled to continue on record
until Mar 2018. .

This item was updated from our processing of your dispute in Mar
2014.

Credit Limlt/Original Amount:

$160

High Balance:

NA

Recent Balance:

$202 as of 02/2014

Recent Payment:

$0
